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15
                              UNITED STATES DISTRICT COURT

16
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

17    ANASTASIYA KISIL, mother and natural             CASE NO. 8:22-cv-01164-JVS-ADS
      guardian of “JOHN DOE,” an infant,
18
      individually and on behalf of others similarly   JOINT STIPULATED REQUEST
19    situated                                         TO CONTINUE RULE 26(F)
                         Plaintiff,                    CONFERENCE AND RELATED
20
                                                       DEADLINES
21                              v.
22
      ILLUMINATE EDUCATION, Inc. d/b/a
23    PUPIL PATH,
24                       Defendant.
25

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     Case 8:22-cv-01164-JVS-ADS Document 52 Filed 09/16/22 Page 2 of 4 Page ID #:319



 1          Pursuant to Local Rule 7-1 and this Court’s Procedures, Plaintiff Anastasiya Kisil
 2    (“Plaintiff”) and Defendant Illuminate Education, Inc. (“Illuminate”) (collectively, the
 3    “Parties”) hereby jointly stipulate and agree, subject to the approval of the Court, and for
 4    good cause, to continue the Rule 26(f) Scheduling Conference and related deadlines in
 5    anticipation of Plaintiffs’ Consolidated Complaint. In support of this request, the Parties
 6    state as follows:
 7          1.     Plaintiff filed a Complaint against Illuminate on June 4, 2022.
 8          2.     On July 13, 2022, the Court ordered that the Rule 26(f) Scheduling
 9    Conference would take place on September 26, 2022. See ECF No. 33.
10          3.     On August 9, 2022, the Parties notified the Court that Plaintiffs intended to
11    move to consolidate this matter with two other cases filed against Illuminate in federal
12    court—Cranor v. Illuminate Education, Inc., No. 8:22-cv-01404-JVS-ADS (C.D. Cal.) and
13    Chung v. Illuminate Education, Inc., No. 1:22-cv-03310-HG (E.D.N.Y.)—after the Chung
14    case had been transferred to C.D. Cal. See ECF No. 42. Plaintiffs also indicated that they
15    intended to file a motion to appoint lead counsel along with their consolidation request. Id.
16          4.     On August 11, 2022, the Court issued an order granting the Parties’ request to
17    continue then-current deadlines and ordered that Plaintiffs shall file a Consolidated
18    Complaint within 60 days of the Court’s ruling on the motion to consolidate and/or
19    plaintiffs’ motion to appoint lead counsel. See ECF No. 43.
20          5.     Plaintiffs filed an unopposed motion to consolidate these cases on September
21    1, 2022, see ECF No. 44; that motion is currently pending before the Court.
22          6.     Plaintiffs filed their stipulation to appoint lead counsel on September 2, 2022,
23    see ECF No. 45, and that stipulation was granted on September 7, 2022, see ECF No. 46.
24          7.     Plaintiffs’ consolidated complaint is therefore due on November 7, 2022.
25          8.     The Parties have conferred and agree that it is impracticable for the parties to
26    hold the Rule 26(f) Scheduling Conference on September 26, 2022, because Plaintiffs will
27    not yet have filed a consolidated complaint. The Parties further agree that it will best serve
28    judicial economy to conduct the Scheduling Conference at a time when the Parties
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 1    understand the nature of the claims that Plaintiffs intend to assert against Illuminate, which
 2    will be reflected in Plaintiffs’ Consolidated Complaint.
 3          9.     WHEREFORE, the Parties respectfully request that the Rule 26(f) Conference
 4    and related deadlines be continued as follows:
 5          (a)    The Parties will conduct the Rule 26(f) Conference on November 21, 2022.
 6          (b)    The Parties will file a Joint Rule 26(f) Report on December 5, 2022.
 7          (c)    The Parties will exchange Initial Disclosures on December 12, 2022.
 8          (d)    A Rule 26(f) Scheduling Conference will be held on December 19, 2022 at
 9                 10:30 AM PST, or at another time thereafter convenient for the Court.
10

11
      Dated: September 16, 2022
12

13
      /s/ Devin S. Anderson                             /s/ Laurence D. King
14
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                                                        Co-Lead Interim Counsel for Plaintiffs
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     Case 8:22-cv-01164-JVS-ADS Document 52 Filed 09/16/22 Page 4 of 4 Page ID #:321



 1                 ATTESTATION PURSUANT TO CIVIL L.R. 5-4.3.4(a)(2)
 2          The filer attests that all other signatories listed, and on whose behalf the filing is
 3    submitted, concur in the filing’s content and have authorized the filing.
 4

 5    DATED: September 16, 2022                             /s/ Devin S. Anderson
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